     Case 2:13-cv-05861-JLS-AJW Document 93 Filed 08/09/18 Page 1 of 5 Page ID #:1116




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18
                                 UNITED STATES DISTRICT COURT
19
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
20
                                       WESTERN DIVISION
21
       UNITED STATES OF AMERICA; the                 No. CV 13-5861 JLS (AJWx)
22     STATES of CALIFORNIA, DELAWARE,
       FLORIDA, GEORGIA, HAWAII,                     UNITED STATES OF AMERICA’S
23     ILLINOIS, INDIANA, LOUISIANA,                 STATUS REPORT
       MICHIGAN, MINNESOTA, MONTANA,
24     NEVADA, NEW HAMPSHIRE, NEW
       JERSEY, NEW MEXICO, NEW YORK,
25     NORTH CAROLINA, OKLAHOMA,
26     RHODE ISLAND, TENNESSEE, TEXAS,
       and WASHINGTON; COMONWEALTHS
27     of MASSACHUSETTS and VIRGINIA,
       and the DISTRICT OF COLUMBIA ex rel.
28     MARIA GUZMAN,
                   Plaintiffs,
     Case 2:13-cv-05861-JLS-AJW Document 93 Filed 08/09/18 Page 2 of 5 Page ID #:1117




 1                       v.
 2     INSYS THERAPEUTICS, INC.;
       MICHAEL BABICH, an individual; ALEC
 3     BURLAKOFF, an individual; and DOES 1
       through 15,
 4
                  Defendants.
 5
 6
       UNITED STATES OF AMERICA ex rel.            No. CV 14-3488 JLS (AJWx)
 7     JOHN DOE and ABC, LLC,
 8                Plaintiffs,
 9                       v.
10     INSYS THERAPEUTICS, INC.; ALEC
       BURLAKOFF; and MICHAEL L.
11     BABICH,
12                Defendants.
13
14
       UNITED STATES OF AMERICA ex rel.            No. CV 14-9179 JLS (AJWx)
15     TORGNY ANDERSSON,
16                Plaintiffs,
17                       v.
18     INSYS THERAPEUTICS, INC.,
19                Defendant.
20
21     UNITED STATES OF AMERICA ex rel.            No. CV 16-2956 JLS (AJWx)
       ALLISON ERICKSON and SARA
22     LUEKEN,
23                Plaintiffs,
24                       v.
25     INSYS THERAPEUTICS, INC.,
26                Defendant.
27
28
                                               2
     Case 2:13-cv-05861-JLS-AJW Document 93 Filed 08/09/18 Page 3 of 5 Page ID #:1118




 1      UNITED STATES OF AMERICA ex rel.                 No. CV 16-7937 JLS (AJWx)
        JANE DOE and the States of
 2      CALIFORNIA, COLORADO,
        CONNECTICUT, DELAWARE,
 3      FLORIDA, GEORGIA, HAWAII,
        ILLINOIS, INDIANA, IOWA,
 4      LOUSIANA, MARYLAND,
        MASSACHUSETTS, MICHIGAN,
 5      MINNESOTA, MONTANA, NEVADA,
        NEW JERSEY, NEW MEXICO, NEW
 6      YORK, NORTH CAROLINA,
        OKLAHOMA, RHODE ISLAND,
 7      TENNESSEE, TEXAS, VERMONT,
        VIRGINIA, WASHINGTON, the CITY
 8      OF CHICAGO, and the DISTRICT OF
        COLUMBIA,
 9
                    Plaintiffs,
10
                           v.
11
        INSYS THERAPEUTICS, INC. and
12      LINDEN CARE LLC,
13                  Defendants.
14
15
16           Pursuant to this Court’s Order filed on May 11, 2018 (Docket No. 69), plaintiff
17     United States of America, by its attorneys, respectfully submits this status report to the
18     Court and the parties in these consolidated actions.
19           After several months of settlement discussions, on August 7, 2018, the United
20     States and defendant Insys Therapeutics, Inc. (“Insys”) reached a tentative settlement-in-
21     principle. Although this settlement-in-principle is subject to further governmental and
22     other approvals, the tentative agreement resolves material terms that have been the
23     subject of ongoing settlement negotiations. Insys has made a public announcement of
24     the above settlement-in-principle. See, e.g., https://finance.yahoo.com/news/insys-pay-
25     150-mln-settle-115922442.html?.tsrc=applewf (last visited Aug. 8, 2018).
26           In the upcoming months, the parties, including the various State and other
27     governmental entities and the relators, anticipate addressing and discussing various other
28     related issues that are necessary to fully resolve these actions.
                                                     3
     Case 2:13-cv-05861-JLS-AJW Document 93 Filed 08/09/18 Page 4 of 5 Page ID #:1119




 1           Counsel for the United States have been advised by the Assistant United States
 2     Attorneys in the District of Massachusetts who are prosecuting the related criminal
 3     action in that district, United States v. Babich, CR 16-10343-ADB (D. Mass. filed Dec.
 4     6, 2016), that trial has been scheduled for January 28, 2019 and that the need for a stay
 5     of these civil actions remains in place at this time.

 6           The United States will file a further status report within 90 days or as events may

 7     make such a further report necessary or desirable.
                                            Respectfully submitted,
 8
        Dated: August 9, 2018               CHAD A. READLER
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                                            MICHAEL D. GRANSTON
15                                          PATRICIA L. HANOWER
                                            DAVID T. COHEN
16                                          Attorneys, Civil Division
                                            United States Department of Justice
17
                                               /S/ John E. Lee
18                                          _____________________________________
19                                          JOHN E. LEE
                                            Assistant United States Attorneys
20                                          Attorneys for the United States of America

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     Case 2:13-cv-05861-JLS-AJW Document 93 Filed 08/09/18 Page 5 of 5 Page ID #:1120




 1                        PROOF OF SERVICE BY ELECTRONIC MAIL
 2           I am over the age of 18 and not a party to the above-captioned actions. I am
 3     employed by the Office of United States Attorney, Central District of California. My
 4     business address is 300 North Los Angeles Street, Suite 7516, Los Angeles, CA 90012.
 5           On August 9, 2018, I served the foregoing UNITED STATES OF AMERICA’S
 6     STATUS REPORT on each person or entity named below by e-mail, pursuant to written
 7     consent under Federal Rule of Civil Procedure 5(b)(2)(E).
 8           Date of e-mailing: August 9, 2018. Place of e-mailing: Los Angeles, CA.
 9           Person(s) and/or Entity(s) to whom e-mailed:
10           Stacy Race, Esq.                        Michael N. Zumwalt, Esq.
             Special Deputy Attorney General         Assistant Corporation Counsel
11           National Association of Medicaid        Corporation Counsel, City of Chicago
             Fraud Coordinators                      michael.zumwalt@cityofchicago.org
12           srace@ncdoj.gov
13           Erika Kelton, Esq.,                     James Ficaro, Esq.
             Phillips & Cohen LLP                    The Weiser Law Firm
14           ekelton@phillipsandcohen.com            jmf@weiserlawfirm.com
15           Brian J. Madden, Esq.                   Jeffrey S. Gleason, Esq.
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16           bmadden@wcllp.com                       jgleason@robinskaplan.com
17           Eric L. Young, Esq.
             McEldrew Young
18           eyoung@mceldrewyoung.com
19           I declare that I am employed in the office of a member of the bar of this Court at
20     whose direction the service was made.
21           I declare under penalty of perjury that the foregoing is true and correct.
22           Executed on August 9, 2018, at Los Angeles, California.
23                                               /S/ John E. Lee
24                                             JOHN E. LEE
25
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